      Case: 1:19-cv-07504 Document #: 67 Filed: 02/25/20 Page 1 of 4 PageID #:880




                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION

    AON PLC and AON GROUP, INC.,

                       Plaintiffs,

          vs.
                                                                CASE NO. 1:19-cv-07504
    INFINITE EQUITY, INC., TERRY
    ADAMSON, JON BURG, DANIEL                                   Hon. Martha M. Pacold
    COLEMAN, ELIZABETH STOUDT, and
    TYLER EVANS,                                                Hon. Sunil R. Harjani

                       Defendants.




                                                     ORDER

         It is ORDERED:

         1.       Written Discovery and Document Production.

                  a. As between Plaintiffs and Consent Defendants 1: (i) Plaintiffs, collectively,
                     shall be limited to 10 interrogatories and 10 requests for production, and (ii)
                     Consent Defendants, collectively, shall be limited to 30 interrogatories and 30
                     requests for production. Plaintiffs, collectively, shall be limited to 20 requests
                     for admission, and Consent Defendants, collectively, shall be limited to 20
                     requests for admission.

                  b. As between Plaintiffs and Adamson: (i) Plaintiffs, collectively, shall be
                     limited to 5 interrogatories, 5 requests for production, and 5 requests for
                     admission; and (ii) Adamson shall be limited to 5 interrogatories, 5 requests
                     for production, and 5 requests for admission.

                  c. All interrogatories, requests for production, and requests for admission shall
                     be answered individually by each Defendant and each Plaintiff; provided,
                     however, that the Parties may format responses as appropriate.



1
 Infinite Equity, Inc., Jon Burg, Daniel Coleman, Elizabeth Stoudt, and Tyler Evans are referred to herein as
“Consent Defendants.”
Case: 1:19-cv-07504 Document #: 67 Filed: 02/25/20 Page 2 of 4 PageID #:881




        d. Responses to any written discovery served as of the date of this Order are due
           on or before March 11, 2020. Responses to any written discovery served
           after the date of this Order are due within 14 days of receipt.

        e. Document production to be completed by March 20, 2020. Documents
           produced in response to any written discovery served after the date of this
           Order are due within 21 days of receipt of said written discovery.

  2.    Depositions.

        a. All fact depositions shall be completed on or before May 6, 2020.

        b. Plaintiffs, collectively, are entitled to seven (7) fact witness depositions.
           Three (3) of the seven (7) depositions shall be no more than four (4) hours in
           length. Four (4) of the seven (7) depositions shall be no more than seven (7)
           hours in length.

        c. Consent Defendants, collectively, are entitled to seven (7) fact witness
           depositions. Three (3) of the seven (7) depositions shall be no more than four
           (4) hours in length. Four (4) of the seven (7) depositions shall be no more
           than seven (7) hours in length.

        d. Third-party subpoenas may only be issued with leave of Court.

  3.    Expert Discovery.

        a. Plaintiffs must make any expert disclosures required by Fed. R. Civ. P.
           26(a)(2) on or before April 10, 2020.

        b. Consent Defendants deadline to serve any responsive report is May 1, 2020.

        c. Expert depositions shall be completed on or before May 15, 2020.

  4.    Forensic Review of MyPerformanceAwards and PeerTracker.

        a. Plaintiffs and Consent Defendants may each retain the services of an
           independent expert qualified in forensic analysis of source code to conduct
           forensic analysis of MyPerformanceAwards and PeerTracker.

        b. Within ten (10) business days of entry of this Stipulation, Consent Defendants
           will make available for inspection to Plaintiffs’ designated forensic expert the
           following for the relevant time period: all iterations and versions of the
           MyPerformanceAwards source code; the source code control system metadata
           (revision control system metadata). The relevant time period is June 2019 to
           the present.



                                         2
Case: 1:19-cv-07504 Document #: 67 Filed: 02/25/20 Page 3 of 4 PageID #:882




        c. Within ten (10) business days of entry of this Stipulation, Plaintiffs will make
           available for inspection to Consent Defendants’ designated forensic expert the
           following for the relevant time period: all iterations and versions of the
           PeerTracker source code; the source code control system metadata (revision
           control system metadata). The relevant time period is June 2019 to the
           present.

        d. The source code material for MyPerformanceAwards and PeerTracker may be
           designated ATTORNEYS-EYES ONLY-SOURCE CODE and afforded all of
           the protections afforded ATTORNEYS-EYES ONLY materials under the
           parties’ Confidentiality Agreement, except materials marked ATTORNEYS-
           EYES ONLY-SOURCE CODE may also be disclosed to one party
           representative for the Consent Defendants and one party representative for
           Plaintiffs. The party representatives shall be bound by the Confidentiality
           Agreement in this case and this Order.

        e. Any source code material produced in discovery shall be made available for
           inspection, in a format allowing it to be reasonably reviewed and searched.
           Source code material will be produced through secure means. The receiving
           party shall maintain all paper copies of any printed portions of the source code
           material in a secured, locked area. Any paper copies used during a deposition
           shall be retrieved by the producing party at the end of each day and must not
           be given to or left with a court reporter or any other unauthorized individual.
           The receiving party shall maintain a record of any individual who has received
           or reviewed any portion of the source code material in electronic or paper
           form. At the conclusion of the litigation, the receiving party will return the
           source code material to the producing party via secure means along with an
           affidavit by each person who received or reviewed the source code material
           declaring under oath that they did not copy, retain a copy, summarize or
           otherwise duplicate any portion of the source code material, and did not and
           will not disclose it to anyone else or use it for any purpose other than this
           forensic review. The parties will confer on a protocol for any additional
           requirements concerning the exchange of the source code materials as soon as
           practicable after the submission of this Order.

        f. Each party shall bear the costs of its/their own experts subject to any future
           remedies to be ordered by the Court.

  5.    Preliminary Injunction. Briefing schedule for Plaintiffs’ anticipated motion for a
        preliminary injunction:

        a. Plaintiffs’ moving brief: May 22, 2020

        b. Consent Defendants’ opposition: June 12, 2020

        c. Plaintiffs’ reply: June 22, 2020

                                         3
Case: 1:19-cv-07504 Document #: 67 Filed: 02/25/20 Page 4 of 4 PageID #:883




          d. The parties agree to request a hearing date, subject to the Court’s availability,
             on or after June 22, 2020.

6. Time period between expiration of Consent Order and preliminary injunction hearing:

              During the time period after the Consent Order expires, and before the
              preliminary injunction hearing, any issues that arise as a result of the
              expiration of the Consent Order will be addressed at the preliminary
              injunction hearing. The expectation is that Plaintiff will not move the Court
              for a temporary restraining order during this time, although they reserve the
              right to do so if unexpected exigent circumstances arise. This is because the
              Court has not closed fact and expert discovery before the expiration of the
              Consent Order on the representation that Plaintiff was unable to complete the
              fact and expert discovery for purposes of the preliminary injunction hearing
              prior to the expiration of the Consent Order.

7. Briefing schedule for Consent Defendants’ motion to dismiss:

          a. Plaintiffs’ opposition: March 16, 2020.

          b. Consent Defendants’ reply: March 23, 2020.

   SO ORDERED

   This the 25th day of February, 2020.

                                                        ______________________________
                                                        Hon. Sunil R. Harjani




                                            4
